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                         EXHIBIT C
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Smith, Nicole
From:               Bruce Cribbs <bwcribbs123@yahoo.com>
Sent:               Thursday, April 16, 2020 6:52 PM
To:                 Smith, Nicole
Subject:            Fw: [External] Fw: ADA requirements in hotel description




                                                                               P&R 000156
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>
>
>
> On Monday, March 11, 2019, 11:55:19 AM EDT, Melissa Diaz <melissa.diaz@booking.com> wrote:
>
>
>
>
>
> Hello Bruce,
>
> The information has been updated on our end for both properties via our fine print.
> It looks like there is no ADA room for either property, I would look into updating that information
> and adding the room type if you are offering them on your Brand website.
>
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                                                                                             P&R 000157
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>
>
> Best Regards,
>
> On Mon, Mar 11, 2019 at 10:41 AM Bruce Cribbs <bwcribbs123@yahoo.com> wrote:
>>
>>
>>
>> Hey Melissa, we have gotten nailed with 3 lawsuits about our accessibility at my 2 hotels. The last one
focused entirely on the OTAs website. I need all the stuff in the attachment added to our websites on expedia,
https://urldefense.com/v3/__http://hotels.com__;!!FzMMvhmfRQ!8QhmOdcxZdm-
6bPUP6FpiU8sgUi5bhES9u94n8XlFknPBhy1oovlAaWwSBUNloSXbOo$ and orbitz. Can you make this
happen or put me in touch with whoever I need to make this happen asap? Sleep Inn and Comfort Inn in
Gainesvill FL. Thanks, Bruce
>>
>> Bruce W Cribbs, CHA, GM
>> Sleep Inn & Suites
>> Comfort Inn University
>> 352-316-6311 Cell
>>
>>      GO GATORS!!!!!
>>
>> I Can Do All Things Through Christ Who Strengthens Me - Philippians 4:13
>>
>>
>>
>>
>
>
> --
>
> Melissa Diaz
> Account Manager Partner Services
>
> http://Booking.com (USA) Inc.
> 7380 W Sand Lake Rd. Suite 120 Orlando, FL 32819 Orlando 32819 United States of America
> Direct +14075873983
>
> Empowering people to experience the world since 1996
> 43 languages, 214+ offices worldwide, 141,000+ global destinations, 29 million reported listings
> Subsidiary of Booking Holdings Inc. (NASDAQ: BKNG)
>
--

Melissa Diaz
Account Manager Partner Services

Booking.com (USA) Inc.
7380 W Sand Lake Rd. Suite 120 Orlando, FL 32819 Orlando 32819 United States of America
Direct +14075873983

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43 languages, 214+ offices worldwide, 141,000+ global destinations, 29 million reported listings
Subsidiary of Booking Holdings Inc. (NASDAQ: BKNG)




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